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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                                                             Z8IBJUN 12
                                   AUSTIN DIVISION                                        iiHhI:DU


 COMMUNITY FINANCIAL SERVICES
 ASSOCIATION OF AMERICA, LTD.
 AND CONSUMER SERVICE
 ALLIANCE OF TEXAS,
                 PLAINTIFFS,

 V.                                                       CAUSE NO. A-i 8-CV-0295-LY

 CONSUMER FINANCIAL
 PROTECTION BUREAU AND JOHN
 MICHAEL MULVANEY,
                DEFENDANTS.




       Before the court in the above styled and numbered cause is nonparties Public Citizen, Inc.,

Americans for Financial Reform Education Fund, Center for Responsible Lending and National

Consumer Law Center's Motion for Leave to File Amicus Memorandum in Opposition to the

Parties' Joint Motion For Stay of Agency Action Pending Review filed June 2, 20i8 (Clerk's

Document No. 18). Included with the motion is the Memorandum of Amici Curiae Public Citizen,

Inc., Americans for Financial Reform Education Fund, Center for Responsible Lending and National

Consumer Law Center in Opposition to the Parties' Joint Motion for a Stay of Agency Action

Pending Review.

       Having considered the motion and the attached memorandum, the case file, the applicable

law, and Plaintiffs Community Financial Services Association of America, Ltd. and Consumer

Service Alliance of Texas's opposition to the nonparties' motion for leave to file,

       IT IS ORDERED that nonparties Public Citizen, Inc., Americans for Financial Reform

Education Fund, Center for Responsible Lending and National Consumer Law Center's motion for
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leave to file their Amicus Memorandum filed June 2, 2018 (Clerk's Document No. 18) is

GRANTED.

      The clerk of court shall file the Amicus Memorandum in this action.

      SIGNED this                  day of June, 2017.




                                          UNI ED STATES DISTRI T JUDGE




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